Case 2:02-cr-20299-BBD Document 201 Filed 06/07/05 Page 1 of 6 _ Page|D 183

WESTERN DlSTRlCT OF TENNESSEE

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UN|TED STATES OF AMERICA pgg),[.;_iq'{' ;r’;_ §§ TF;{;L}O
CL.EH‘:<, l:l.z:‘%. 531-211 C`i'.

_v_ 2:02€R20299_05_D W.D. OF f=\é, lf.a;v-Jll~*l~fl$

TARRA LEPEZ BROWN

Martv B. llltcAfe_oa~l CJA
Defense Attorney

246 Adams

Memphis, TN 38103

 

*A*M*E*N*D*E*D* JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on January 03, 2003.

According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section MQDHM Offense Mll§l
Conc|uded
21 U.S.C. § 846 Conspiracy to Possess With |ntent to 07/27/2002 1

Distribute in Excess of Five (5)
Ki|ograms of Cocaine

The defendant is sentenced as provided in the following pages of this judgment. The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 2 is dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Seo. No. 415-43»9157 Date of |mposition of Sentence:
Defendant's Date of Birth: 02/14/1970 April 18, 2003
Deft’s U.S. Marsha| No.: 18505-076

56
Defendant's Mai|ing Address: the cowew
3022 Meadowfair mem entered <>HFRUP an ‘9
N|emphis, TN 38119 TY\‘S `::;: 55 andch /@C
with

BERN|CE B. DONALD
UN|TED STATES DlSTRlCT JUDGE

June g , 2005

  

 

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Case No: 2:020R20299-05 Defendant Name: Tarra Lepez BROWN Page 2 of 4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 20 Months.

The Court recommends to the Bureau of Prisons:

The defendant shall complete the Drug Education Program at the Bureau of
Prisons.

The defendant be designated to serve his term of imprisonment at a facility as
close to Memphis, Tennessee as possib|e.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States |Vlarsha|.

RETURN

i have executed this judgment as fo||oWs:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgmentl
UN|TED STATES |V|ARSHAL
By:

 

Deputy U.S. N|arsha|

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Case No'l 2:020R20299-05 Defendant Name: Tarra l_epez BROWN Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shali not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation ocher as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controiled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shali submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:02€R20299-05 Defendant Name: Tarra Lepez BROWN Page 4 of4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ocher;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDlTlONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

*Upon any positive drug screen, the defendant shall submit to drug testing and treatment as
directed by the Probation Office.

CR|M|NAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shail be due immediately.

FlNE
No fine imposed.

RESTITUT|ON
No Restitution was ordered.

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U,S.A. vs. Tarra Lepez Brown Doc

Petition on Probation and Supervised Release

COMES NOW Daw_q L. Brown, PROBATION OFFICER OF THE COURT presenting an official report
upon the conduct and attitude of Tarra Lepez Brown, who was placed on supervision by the Honorable Bernice B.
Donald United States District Judge, sitting in the Court at Mgmphis, Tennessee on the Mh day of April, Q_QQ§, who
fixed the period of supervision at two 121 years*, and imposed the general terms and conditions theretofore adopted
by the Coul't.

 

"' Supervision began on December 25 , 2004

RESPECTFULI..Y PRESENTING PETITION FOR ACTION OF\ COURT FOR CAUSE AS
FOLLOWS:

Mr. Brown has a documented history of substance abuse as indicated in the Presentence Report. While on Pretrial
supervision, Mr. Brown reported a twelve (12) year history ofMarijuana abuse with use ceasing in June, 2002. Mr.
Brown successfully completed the 500 hour residential drug treatment program while incarcerated, however, program
counselors recommend continued treatment The Probation Oftice believes it would be beneficial to have a Special
Condition which requires drug testing and treatment as directed by the Probation Office. Mr. Brown has chosen
to exercise his right to a hearing to modify his conditions

PRAYING THAT THE COURT WILL ORDER that a SUMMONS be issued for Tarra Lepez Brown so that he
can appear before the Your Honor to show cause as to why his conditions should not be moditied.

 

ORDER OF COURT I declare under penalty of perjury that the
foregoing is true and correct
Considered and ordered t is LlLV\day Excc ted
or ' , 20 and ordered med on Wa,,m de, 52005’ g

and made a part of the record in the above case.

W\/'\ Un' ed States Probation Ofiicer
lhwca

Uan States D'istrict judge \ Place: Memphis. TN

ocket heat ln compliance
Thls document entered on the d ll f “ 0

with Rule 55 and/or 32(1)) FROrP on l q f

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 201 in
case 2:02-CR-20299 Was distributed by faX, mail, or direct printing on
J unc 7, 2005 to the parties listed.

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
l\/lemphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DlSTRlCT COURT

